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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

 MISSED CALL, LLC


                             Plaintiff,

                  v.                          Civil Action No. 22-739-CFC

FRESHWORKS, INC.


                           Defendant.


                           MEMORANDUM ORDER

      Whereas the Court issued on Thursday, August 25, 2022, an order that

stated: "The Court will hear oral argument on Plaintiffs Motion and Order for

Withdrawal of Jimmy Chong, Esq. as Counsel for Plaintiff (DJ. 16) on September

1, 2022 at 4:00 p.m. in Courtroom 4B. Both Mr. Chong and Mr. Ramey are

required to attend the hearing in person.";

      Whereas Mr. Ramey is admitted pro hac in this case and is registered on

CM/ECF;

      Whereas, immediately upon the filing of the Court's August 25, 2022 order,

CM/ECF sent notice of the order to Mr. Ramey at litigation@rameyfirm.com and

his personal email address, wramey@rameyfirm.com;
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       Whereas at 1:25 p.m. on Monday, August 29, 2022, Judge Albright in the

Western District of Texas scheduled an "in person" discovery hearing in Traxcell

Technologi.es, LLC v. Cellco Partnership, Cause No. 6:20-cv-01175, for

September 2, 2022;

       Whereas Mr. Ramey is an attorney of record for the plaintiff in the Traxcell

action before Judge Albright;

       Whereas at 2: 17 p.m. on Monday August 29, 2022, Mr. Ramey emailed

Judge Albright's chambers from his wramey@rameyfirm.com email account;

       Whereas Mr. Ramey did not inform Judge Albright's chambers that he was

required to be in this Court on September 1, 2022 but instead asked in his August

29 email: "For clarity, and we apologize, is this hearing [scheduled for September

2, 2022] is [sic] live in the courtroom?";

       Whereas Judge Albright's chambers stated in a reply email: "Yes, this will

be an in-person hearing";

       Whereas after 5:00 p.m. on August 31, 2022, an unidentified person from

Mr. Ramey's firm called this Court's chambers "to let [the Court] know" that Mr.

Ramey "won't be showing up tomorrow because he has another hearing in Texas";

       Whereas at 12: 16 p.m. on September 1, 2022, at the direction of Mr. Ramey,

Mr. Chong filed with the Court a pleading titled "Stipulation to Reset Hearing"

that states in relevant part:


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             William P. Ramey, III is unable to attend the hearing for oral
             argument .... The hearing is currently set for Thursday, September
             1, 2022 at 4 :00 p.m. Mr. Ramey will be traveling from Houston,
             Texas to attend another hearing in the Western District of Texas,
             Waco Division set for September 2, 2022 at 10:00 a.m. Mr. Chong
             will be in attendance.

D.I. 18 at 1; and

      Whereas Mr. Ramey did not appear in this Court on September 1, 2022;

      NOW THEREFORE, at Wilmington on this Eighth day of September in

2022, it is HEREBY ORDERED that:

      1. The Court will hold an evidentiary hearing and entertain oral argument at

          9:30 a.m. on September 26, 2022 to determine whether Mr. Ramey

          should be held in contempt or otherwise sanctioned for his failure to

          comply with this Court's August 25 , 2022 order.

      2. Mr. Ramey shall appear at the hearing in person.




                                                                         EF JUDGE




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